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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

CLARA COTTON and ZACH COTTON,

                             Plaintiffs,

          v.                                         CASE NO. 3:20-cv-00074-JD-MGG

ETHICON, INC. and JOHNSON & JOHNSON,

                             Defendants.


                MOTION TO WITHDRAW APPEARANCES OF MDL COUNSEL
               FOR DEFENDANTS ETHICON, INC. AND JOHNSON & JOHNSON

          Come now Defendants Ethicon, Inc. and Johnson & Johnson, by counsel, and

respectfully request the Court to withdraw the appearances of the following attorneys as counsel

of record for Ethicon, Inc. and Johnson & Johnson:

     Christy D Jones                              David B. Thomas
     William M Gage                               Susan M. Robinson
     BUTLER SNOW LLP - RID/MS                     THOMAS COMBS & SPANN
     1020 Highland Pkwy., Suite 1400              PO Box 3824
     Ridgeland, MS 39157                          Charleston, WV 25338-3824

     Kari L Sutherland
     Butler Snow LLP - Ox/MS
     1200 Jefferson Ave., Suite 2054
     Oxford, MS 38655

The above attorneys appeared on behalf of Defendants Ethicon, Inc. and Johnson & Johnson

while this case was pending in MDL 2327 in the Southern District of West Virginia as Member

Civil Action 2:13-cv-6679 ("MDL attorneys"), and do not intend to appear on behalf of

Defendants now that the case has been transferred to the Northern District of Indiana. Attorneys

Mary Nold Larimore and Kimberly C. Metzger of the law firm Ice Miller LLP have entered their

appearances on behalf of the Defendants and will continue to represent the Defendants in this

matter.
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          WHEREFORE, Defendants Ethicon, Inc. and Johnson & Johnson respectfully request

that this Court withdraw the appearances of the MDL attorneys as counsel for the Defendants

herein.

                                                     Respectfully submitted,

                                                      s/ Mary Nold Larimore
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                                                     One American Square, Suite 2900
                                                     Indianapolis, IN 46282-0200


                                 CERTIFICATE OF SERVICE

I hereby certify that on January 24, 2020 a copy of the foregoing was filed electronically.
Service of this filing will be made on all ECF-registered counsel by operation of the court's
electronic filing system. Parties may access this filing through the court's system.

I further certify that on January 24, 2020, a copy of the foregoing was mailed, by first-class U.S.
Mail, postage prepaid and properly addressed to the following:

      Christy D Jones                                David B. Thomas
      William M Gage                                 Susan M. Robinson
      BUTLER SNOW LLP - RID/MS                       THOMAS COMBS & SPANN
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                                                     s/ Mary Nold Larimore
                                                     Mary Nold Larimore




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